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AUG 2 0 2019

 

 

 

 

UNITED STATES DISTRICT COURT

 

 

 

SOUTHERN DISTRICT OF WEST VIRGINIA

 

 

 

 

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(Enter above the full name of the plaintiff (Inmate Reg. # of each Plaintiff)
or plaintiffs in this action).
VERSUS CIVIL ACTION NO._S5'/4-CV— (0(

 

(Number to be assigned by Court)

 

 

 

(Enter above the full name of the defendant
or defendants in this action)

COMPLAINT
I. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same
facts involved in this action or otherwise relating to your imprisonment?

Yes No a

 
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B. If your answer to A is yes, describe each lawsuit in the space below. (Ifthere
is more than one lawsuit, describe the additional lawsuits on another piece of

paper, using the same outline).

 

 

 

 

 

 

1. Parties to this previous lawsuit:
Plaintiffs:
Defendants:

2. Court (if federal court, name the district; if state court, name the
county);

 

 

3, Docket Number:

 

4. Name of judge to whom case was assigned:

 

5. Disposition (for example: Was the case dismissed? Was it appealed?
Is it still pending?

 

 

6. Approximate date of filing lawsuit:

 

7. Approximate date of disposition:

 

 

 
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Il. Place of Present Confinement: VC, (Maty$ Cotréethidad 6 gy ¥bt

A. Is there a prisoner grievance procedure in this institution?
Yes ~~ No
B. Did you present the facts relating to your complaint in the state prisoner

grievance procedure?
Yes No pe
C. If you answer is YES:

1, What steps did you take?

 

 

2. What was the result?

 

 

D. If your answer is NO, explain why not: ZT did nek
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ll. Parties

(In item A below, place your name and inmate registration number in the first blank
and place your present address in the second blank. Do the same for additional

plaintiffs, if any.)
A. Name of Plaintiff: M i hag / Rau Les hes ~ 3439 34 ef

Address: a S£O Al; Pl ea Se ae Eh c Sf] mets balm 2h (72

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B. Additional Plaintiff(s) and Address(es):

 

 

 

 

 
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(In item C below, place the full name of the defendant in the first blank, his/her
official position in the second blank, and his/her place of employment in the third
blank. Use item D for the names, positions, and places of employment of any

additional defendants.)

C. Defendant: Covavy of Lighsel/ . bie ,
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is employed as:

 

at

 

D. Additional defendants:

 

 

 

 

IV. Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant
is involved. Include also the names of other persons involved, dates and places. Do
not give any legal arguments or cite any cases or statutes. If you intend to allege a
number of related claims, set forth each claim in a separate paragraph. (Use as much
space as you need. Attach extra sheets if necessary.)

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IV. Statement of Claim (continued):

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Vv. Relief

State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes.

 

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V. Relief (continued)):

 

 

 

 

 

VII. Counsel

A.

If someone other than a lawyer is assisting you in preparing this case, state the
person’s name:

Nb byt

Have you made any effort to contact a private lawyer to determine if he or she
would represent you in this civil action?

Yes No aa

If so, state the name(s) and address(es) of each lawyer contacted:

 

 

? - e
If not, state your reasons: @ old pe #¢ Kee J e LA ot

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C.

Have you previously had a lawyer representing you in a civil action in this
court?

Yes No_¥

 
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If so, state the lawyer’s name and address:

 

 

PMS

Signed this _/_? dayof_§ 46 vt iF ,20_/

 

 

 

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Signature of Plaintiff or Plaintiffs

I declare under penalty of perjury that the foregoing is true and correct.

Y- / %

Executed on &-(¢- 4/9
(Date)

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Signature of Movant/Plaintiff

 

Signature of Attorney
(if any)

 
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